Name and address:
       Case 2:21-cv-04405-RGK-MAR Document 8-1 Filed 05/27/21 Page 1 of 1 Page ID #:53
THE VORA LAW FIRM, P.C.
Nilay U. Vora (SBN 268339)
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201 Santa Monica Blvd., Ste. 300
Santa Monica, California 90401



                                                    UNITED STATES DISTRICT COURT
                                                   CENTRAL DISTRICT OF CALIFORNIA
PAUL SNITKO, JENNIFER SNITKO, JOSEPH RUIZ, and                                 CASE NUMBER       2:21-cv-04405
TYLER GOTHIER,
                                                                Plaintiff(s)
                                       v.
                                                                                   (PROPOSED) ORDER ON APPLICATION
UNITED STATES OF AMERICA, et al.
                                                                                  OF NON-RESIDENT ATTORNEY TO APPEAR
                                                            Defendant(s).             IN A SPECIFIC CASE PRO HAC VICE

The Court, having determined whether the required fee has been paid, and having reviewed the
Application of Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
Frommer, Robert, P.                                of Institute for Justice
Applicant’s Name (Last Name, First Name & Middle Initial)                         901 N. Glebe Road, Suite 900
(703) 682-9320                          (703) 682-9321                            Arlington, VA 22203
Telephone Number                         Fax Number
rfrommer@ij.org
                              E-Mail Address                                      Firm/Agency Name & Address

 for permission to appear and participate in this case on behalf of
PAUL SNITKO, JENNIFER SNITKO, JOSEPH RUIZ, and TYLER GOTHIER,



Name(s) of Party(ies) Represented                                              Plaintiff(s)    Defendant(s)       Other:
and designating as Local Counsel
Vora, Nilay, U.                                                                of THE VORA LAW FIRM, P.C.
Designee’s Name (Last Name, First Name & Middle Initial)                          201 Santa Monica Blvd., Ste. 300
     268339            (424) 258-5190                                             Santa Monica, California 90401
Designee’s Cal. Bar No.         Telephone Number           Fax Number
nvora@voralaw.com
                                E-Mail Address                                    Firm/Agency Name & Address

 HEREBY ORDERS THAT the Application be:
      GRANTED.
      DENIED:  for failure to pay the required fee.
                           for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                           for failure to complete Application:
                           pursuant to L.R. 83-2.1.3.2:       Applicant resides in California;     previous Applications listed indicate Applicant
                           is regularly employed or engaged in business, professional, or other similar activities in California.
                           pursuant to L.R. 83-2.1.3.4; Local Counsel:      is not member of Bar of this Court;  does not maintain office in District.
                           because

 IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid:                                              be refunded      not be refunded.

 Dated
                                                                                       U.S. District Judge/U.S. Magistrate Judge
G–64 ORDER (5/16)         (PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE             Page 1 of 1
